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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

H-D U.S.A., LLC,
Plaintiff,
v.

3AAA STORE, et al.,

Defendants.

 

 

EASTERN DIVISION

Case No. 19-cv-01789
Judge Charles R. Norgle
Magistrate Judge Maria Valdez

SATISFACTION OF JUDGMENT

WHEREAS, a judgment was entered in the above action on May 30, 2019 [44], in favor of

H-D U.S.A., LLC (“Harley-Davidson” or “Plaintiff’) and against the Defendants Identified in

Schedule A in the amount of one million dollars ($1,000,000) per Defaulting Defendant, and

Harley-Davidson acknowledges payment of an agreed upon damages amount, costs, and interest

and desires to release this judgment and hereby fully and completely satisfy the same as to the

following Defendant:

 

Defendant Name

Line No.

 

 

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THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendant is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.

 
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Dated this 14" day of June 2019.

Respectfully submitted,

Lh ha

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Counsel for Plaintiff H-D U.S.A., LLC

Subscribed and sworn to me by RiKaleigh C. Johnson, on this 14" day of June 2019.

Given under by hand and notarial seal.

 
   
   

CAITLIN SCHLIE
Official Seal
Notary Public ~ State of tilinois
My Commission Expires Nov 20, 2021

   

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Notary Public

State of Illinois
County of Cook
